Case 4:12-cv-00753 Document 11 Filed on 09/13/12 in TXSD Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ISADELLA BELL §
§
§
versus § CIVIL ACTION NO. H-12-753
§
§
PREMIER RECOVERY GROUP §

ORDER OF DISMISSAL

The Court having been advised by counsel for the parties that an amicable settlement has
been reached in this action, it is

ORDERED AND ADJUDGED that, pursuant to Fed. R. Civ. P. 41(a)(2), this cause is
hereby DISMISSED on the merits without prejudice to the right of counsel to move for
reinstatement of this action within ninety (90) days if settlement is not consummated.

FURTHERMORE, the Court shall retain jurisdiction to enforce the settlement agreement
in its discretion upon an appropriate motion made within ninety (90) days of this Order. Kokkonen
v. Guardian Life Ins. Co. of America, 511 U.S. 375, 381-82, 114 S. Ct. 1673, 1677 (1994); Bell
v. Schexnayder, 36 F.3d 447, 448-50 (Sth Cir. 1994); and 298 F2d 424, Hospitality House v.
Gilbert.

The Clerk shall enter this Order and provide a copy to all parties.

SIGNED on this Mase wae ‘_, 2012 at Houston, Texas.

On Gard>

VANESSA D. GILMORE
UNITED STATES DISTRICT JUDGE

 

 
